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                   EXHIBIT C
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------------X
  MINHYE PARK,                                                               Index No.: 1:20-cv-02636

                                     Plaintiff,                              DEFENDANT’S
                                                                             FIRST DEMAND
          -against-                                                          FOR PRODUCTION
                                                                             OF DOCUMENTS
  DAVID DENNIS KIM, M.D.,

                                      Defendant.
  -----------------------------------------------------------------------X

         PLEASE TAKE NOTICE that, pursuant to Rules 26, 33, and 34 of the Federal Rules of

 Civil Procedure, defendant DAVID DENNIS KIM, M.D. hereby demands that Plaintiff,

 MINHYE PARK, answers fully, in writing and under oath, Defendant’s First Set of

 Interrogatories. Answers to these Interrogatories shall be provided within thirty (30) days of

 service via email to hnewman@hpmb.com and rgibson@hpmb.com and via mail to HEIDELL,

 PITTONI, MURPHY & BACH, LLP, 81 Main Street, White Plains, New York 10601.

                                REQUESTS FOR PRODUCTION

         1.       Produce any and all documents in Plaintiff’s possession pertaining to Plaintiff’s

 Responses to Defendant’s First set of Interrogatories.

         2.       Produce copies of all medical records in Plaintiff’s possession concerning the

 allegations and injuries in the Complaint, but not limited to, treatment records; gynecologic

 records, abortion records, primary care providers or mental health professionals; insurance claim

 forms, reports and records; invoices for treatment, whether paid or unpaid; canceled checks

 relating to any such treatment or therapy; hospital records; records from health care

 facilities/offices; records form surgical clinics/facilities; records from imaging centers; records

 from urgent care centers; records from therapy centers and therapists.



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         3.        Produce copies of all correspondence regarding the claims made in this case that

 were exchanged by Plaintiff on her behalf to claims personnel or to Defendant Dr. Kim or his

 office staff exchanged prior to defense counsel’s filing of a Notice of Appearance.

         4.        Produce copies of any and all documentation that supports a claim of past/future

 medical expenses, past/future out-of-pocket expenses, or other damages claimed by Plaintiffs.

         5.        Correspondence sent by Plaintiffs to Defendants, or anyone else, related to any

 and all claims in this litigation.

         6.        Written or electronic statements made by Plaintiff, Defendants, or any

 individual(s) identified in connection with the claims and/or issues pertaining to this litigation.

         7.        Any video recordings or audiotapes taken or created by Plaintiff of Defendant Dr.

 Kim or his office staff.

         8.        Any diaries, journals, memoranda, notes, appointment books maintained by

 Plaintiff regarding the allegations or injuries in the Complaint.

         9.        Copies of all social media posts by Plaintiff pertaining to allegations or alleged

 injuries in the Complaint.

         10.       All documents that show the identity of any witness to, or any person with

 knowledge of, facts confirming any of the allegations in the Complaint.

         11.       Produce each and every document, electronic recording, or other tangible item,

 however described, which in any way reflects, underlies or relates to the facts and allegations

 asserted by Plaintiffs in this action, and which have not previously been identified in response to

 these requests.

         12.       A curriculum vitae setting forth the qualifications of any experts Plaintiff expects

 to call at the time of trial.




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         13.      All documents provided by Plaintiff to any expert whom Plaintiffs intend to call

 as a witness(es) at trial and all documents concerning any facts or opinions about which each

 such expert(s) is expected to testify.

         14.      Copies of any and all written material or other documentation Plaintiff’s expert(s)

 will rely upon in forming his or her opinion.

         15.      Any and all documentation indicating whether any part of the cost of medical care

 or other economic loss sought to be received herein was replaced or indemnified, in whole or in

 part, from any collateral source such as insurance, social security, Workers’ Compensation,

 Medicaid, public assistance, or employee benefit programs, including the full name and address

 of each organization, agency, or program providing such replacement or indemnification

 together with an itemized statement of the amount in which each such claimed item of economic

 loss was replaced or indemnified by each such organization or program.

         16.      All documents supporting the claim for lost wages or other income, including, but

 not limited to, employment agreements, bank or investment account statements, tax documents

 (e.g., W-2 forms, 1099 forms) and any other document reflecting income earned or received by

 Plaintiff from November 2014 through the present. If Plaintiff is not asserting any claim for lost

 wages or other income, indicate same and no documentary evidence will be sought.

         17.      Produce all documents from any text messaging and/or instant messaging service

 upon which you received or transmitted any information concerning the claims at issue in this

 litigation and/or this litigation itself.

         18.       Produce all subpoenas served on any person/entity concerning this litigation and

 all documents received in response to any subpoena.




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     Index No.: 1:20-cv-02636

    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

    MINHYE PARK,

                               Plaintiff,

             -against-

    DAVID DENNIS KIM, M.D.,

                               Defendant.


                         DEFENDANT’S FIRST DEMAND FOR PRODUCTION OF DOCUMENTS


                                      HEIDELL, PITTONI, MURPHY & BACH, LLP
                                                    Attorneys for Defendant
                                                        99 Park Avenue
                                                    New York, NY 10016
                                                      T: (212) 286-8585
                                                      F: (212) 490-8966



    Service of a copy of the within                                                                          is hereby admitted.

    Dated:                                           Signature:
                                                     Attorney(s) for

    PLEASE TAKE NOTICE

     NOTICE OF ENTRY                       that the within is a (certified) true copy of a                                    entered
                                            in the office of the clerk of the within named Court on                           , 20    .


     NOTICE OF SETTLEMENT                  that an Order of which the within is a true copy will be presented for settlement to the
                                            Hon.                                 one of the judges of the within named Court,
                                            at                                                      on ,              . 20   . at
                                                     a.m./p.m.

    Dated:




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     1684591.1
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------------X
  MINHYE PARK,                                                               Index No.: 1:20-cv-02636

                                     Plaintiff,                              DEFENDANT’S FIRST SET
                                                                             OF INTERROGATORIES
          -against-

  DAVID DENNIS KIM, M.D.,

                                      Defendant.
  -----------------------------------------------------------------------X

                  PLEASE TAKE NOTICE that, pursuant to Rules 26, 33, and 34 of the Federal

 Rules of Civil Procedure, defendant DAVID DENNIS KIM, M.D. hereby demands that Plaintiff,

 MINHYE PARK, answers fully, in writing and under oath, Defendant’s First Set of

 Interrogatories. Answers to these Interrogatories shall be provided within thirty (30) days of

 service via email to hnewman@hpmb.com and rgibson@hpmb.com and via mail to HEIDELL,

 PITTONI, MURPHY & BACH, LLP, 81 Main Street, White Plains, New York 10601.

                                                  DEFINITIONS

                  1.       All definitions and rules of construction set forth in Federal Rules of Civil

 Procedure and the Local Rules of Civil Procedure for the Southern and Eastern Districts of New

 York shall apply to all requests for documentation herein.

                  2.       As used herein, the term “document” in addition to the definitions

 provided in Rule 34 of the Federal Rules of Civil Procedure and Rule 26.3 of this Court’s Local

 Rules of Civil Procedure, which are expressly incorporated herein, includes tape, video, or sound

 recordings of any type.

                  3.       As used herein, the term “plaintiff” refers to MINHYE PARK.




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                4.        As used herein, the term “defendant” refers to DAVID DENNIS KIM,

 M.D.

                5.        As used herein, “Complaint” refers to the Complaint in this action filed by

 plaintiff.

                                           INSTRUCTIONS

                A.        Plaintiff is required to obtain and furnish all information available to

 Defendant.

                B.        If an Interrogatory is objected to upon the assertion of privilege or other

 protection, identify the privilege or other grounds for withholding the information and state the

 factual basis for the claim in detail sufficient enough so as to permit an adjudication of the

 validity of the claim.

                C.        Respond to each part of the Interrogatory separately. If part of an

 Interrogatory is objected to, that part not objected to will be answered.

                D.        In accordance with Rule 26(e) of the Federal Rules of Civil Procedure,

 Interrogatories are continuing in nature and require Plaintiff to file supplemental answers if

 Plaintiff obtains any further or different information after Plaintiff’s initial answers or responses.

 This includes up to and through the time of trial.

                E.        If any document requested to be identified or described is no longer within

 Plaintiff’s possession, custody or control, state whether it is (a) missing or lost; (b) destroyed and

 the date of destruction; (c) transferred to others and if so, to whom; or, (d) or indicate if

 otherwise disposed and explain why and how. For each instance, explain the circumstances

 surrounding such disposition and describe in detail the type of document, the date created, the

 author, the contents if known and persons to whom the document was distributed.




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                                       INTERROGATORIES

           1.    State the following information pertaining to Plaintiff:

                         a.      Full name and any other names(s) by which she has been known;

                         b.      Date of birth;

                         c.      Residence/home address in November 2017 and in June 2020;

                         d.      All countries in which Plaintiff holds citizenship as of June 2020;

                         d.      Social Security Number (if known, please indicate).

                         e.      Index number and venue for all other litigations to which she has
                                 been a party.

        2.       Identify all the specific acts and allegations in the Complaint which Plaintiff

 alleges this Defendant performed or failed to perform which constitute the alleged malpractice.

 If it will be claimed that the Defendant was negligent due to an omission or failures to act,

 describe with particularity all of the actions Plaintiff claims this Defendant should have

 performed. If it is claimed that this Defendant departed from the standard of care, describe each

 standard of care that Plaintiff claims was not comported with and describe the actions/omissions

 allegedly performed by Defendant.

        3.       With respect to the Informed Consent claim, identify all risks, benefits and

 alternatives Plaintiff claims should have been conveyed to her and those that were conveyed by

 the Defendant regarding the claim in the Complaint for lack of informed consent.

           4.    If Plaintiffs claim that Defendants alleged liability is premised upon any statute,

 regulation, or rule of law, set forth all such statutes or rules of law and the application to this

 matter.

           5.    Identify all witnesses whom Plaintiff will call at trial.




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         6.     Identify any person who witnessed, was present at, or has knowledge or

 information concerning the treatment Plaintiff received from Defendant and a general statement

 of his/her knowledge of the subject matter of this litigation. This request includes but is not

 limited to medical personnel, nurses, physicians, plaintiff’s friends, family, coworkers, etc.

 Provide the person’s address (or last known address) and a general statement of his/her

 knowledge relevant to the subject matter of this litigation. If Plaintiff is unable to identify any of

 the individuals within the meaning of Local Civil Rule 26.3, describe that individual’s physical

 appearance.

         7.     Identify all persons with whom Plaintiff communicated with on the dates upon

 which she treated with Defendant on November 16, 2017, November 21, 2017, November 27,

 2017, and December 13, 2017. Provide the person’s name, address, and describe the sum and

 substance of the communication.

         8.     Identify any person who witnessed, was present at, or has knowledge or

 information concerning Plaintiff’s presentation to Queens Surgical Care Center located in

 Flushing, New York on November 27, 2017. This request includes but is not limited to medical

 personnel, nurses, physicians, plaintiff’s friends, family, coworkers, etc. Provide the person’s

 address (or last known address) and a general statement of his/her knowledge relevant to the

 subject matter of this litigation. If Plaintiff is unable to identify any of the individuals within the

 meaning of Local Civil Rule 26.3, describe that individual’s physical appearance.

         9.     Identify any person who witnessed, was present at or has knowledge or

 information concerning Plaintiff’s abortion treatment in South Korea. This request includes but

 is not limited to medical personnel, nurses, physicians, plaintiff’s friends, family, coworkers, etc.

 Provide the person’s address (or last known address) and a general statement of his/her




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 knowledge relevant to the subject matter of this litigation. If Plaintiff is unable to identify any of

 the individuals within the meaning of Local Civil Rule 26.3, describe that individual’s physical

 appearance.

        10.     If you have identified witnesses to Responses #4, #5 through #9 identify the

 method of communication, indicating whether it was by telephone, in-person, video remote, text

 message, Skype, What’s App, short hand, or other means, and provide the date of the

 communication, the names and addresses of the persons present or party to each communication,

 and the name and address of all persons who had custody of any tangible records of any

 communications herein referred to, and provide a description of such record.

        11.     Identify all communications in Plaintiff’s possession regarding the allegations in

 the Complaint and any and all persons with whom Plaintiff has communicated, whether orally or

 in writing, with the exception of her counsel. This request includes but is not limited to any

 expert or physician with whom plaintiff discussed the allegations and damages described in the

 Complaint.

        12.     Identify the existence, custodian, location, and general description of any and all

 documents, including medical records, that were referred to, examined, or relied on by Plaintiff

 in preparing the Complaint.

        13.     Describe and identify any and all documents, recordings, electronic

 communication and photographs in Plaintiff’s possession relating to the allegations in the

 Complaint.

        14.     Identify all medical conditions, physical and emotional injuries, or aggravations

 of prior conditions which are claimed to have been sustained by Plaintiff due to the actions

 and/or inactions of the Defendant.




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        15.     Identify and provide the name and address of every health care provider and

 health care entity with whom Plaintiff has treated for the injuries alleged in this case.

        16.     Identify and provide the name and address of every gynecologist or medical

 provider with whom Plaintiff has treated from 2012 up until the present.

        17.     Identify and provide the date, location and address of each and every abortion

 undergone by the Plaintiff. State the name and address of each physician who Plaintiff treated

 with for such procedures.

        18.     Identify all collateral source providers, medical insurance providers, disability

 insurance, social security, worker's compensation, or employee benefit programs which Plaintiff

 possessed from 2012 to present. For each collateral source provider identify the limits of

 coverage available to the Plaintiff. If Plaintiff is in possession of documents responsive to this

 interrogatory, please provide copies of all documents pertaining to this request.

        19.     Identify and provide both the name and address of any and all of Plaintiff’s

 employers in 2017 and 2018 and for any other time periods for which lost earnings will be

 claimed. Provide Plaintiff’s job title, responsibilities, salary, and hours worked per week for

 each identified instance of employment. If Plaintiff is in possession of documents responsive to

 this interrogatory, please provide copies of all documents, including pay stubs or tax records,

 pertaining to this request.

        20.     Identify any and all expenses incurred by Plaintiff as a result of the incident at

 issue, including for any abortions and any other expenditures for medical, psychiatric, or

 psychological treatment, attorneys’ fees, and any other item of damages Plaintiff claims in this

 action. If Plaintiff is in the possession of documents responsive to this interrogatory, including




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 TO:    VIA EMAIL - jae@lawjsl.com AND REGULAR MAIL
        Jae Lee, Esq.
        JSL LAW OFFICES, P.C.
        Attorneys for Plaintiff
        626 RXR Plaza
        Uniondale, NY 11556




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     Index No.: 1:20-cv-02636

     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK

     MINHYE PARK,

                                Plaintiff,

              -against-

     DAVID DENNIS KIM, M.D.,

                                Defendant.


                                        DEFENDANT’S FIRST SET OF INTERROGATORIES


                                       HEIDELL, PITTONI, MURPHY & BACH, LLP
                                                      Attorneys for Defendant
                                                          99 Park Avenue
                                                      New York, NY 10016
                                                        T: (212) 286-8585
                                                        F: (212) 490-8966



     Service of a copy of the within                                                                           is hereby admitted.

     Dated:                                            Signature:
                                                       Attorney(s) for

     PLEASE TAKE NOTICE

      NOTICE OF ENTRY                        that the within is a (certified) true copy of a                                    entered
                                              in the office of the clerk of the within named Court on                           , 20    .


      NOTICE OF SETTLEMENT                   that an Order of which the within is a true copy will be presented for settlement to the
                                              Hon.                                 one of the judges of the within named Court,
                                              at                                                      on ,              . 20   . at
                                                       a.m./p.m.

     Dated:




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